Case 6:17-cv-06041-EAW-|\/|WP Document 37 Filed 05/02/18 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

Sarah Long, et al.

 

 

Plaintiff(s),
MEDIA TION
CERTIFICATION
17 - cv - 6041
V.
SMG, et al.
Defendant(s).
I hereby certify that:
The mediation session scheduled for has been adjourned to

 

 

Case settled prior to the first mediation session.

 

 

 

 

/ Mediation session was held on 05/01/2018 _

 

 

Case has seltled. (Colnlnent if necessary).

 

|(:ase has not settled. Mediation will continue on

 

 

 

 

/ Case has not sellled. Mediation is complete. The case will proceed toward trial
pursuant to the Court's scheduling order.

 

Dale: 05/02/2018 Medialor:/S/ Paul L. Leclair

 

Additional Commenls:

 

 

 

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